EXHIBIT B
DocuSign Envelope ID: F6D121B4-£B71-455E-A618-4DFD64883A19

5121 Maryland Way, Suite 300, Brentwood, Tennessee 37027
phone (855)-246-8607 {| fax (855)-220-0422

American wv. appartners.com

PHYSECIAN PARTHERS

February 14, 2023

Aaron Kidd
akidd@appartners.com

Re: Retention Bonus Letter of Agreement

Dear Aaron,

We consider your continued service and dedication to American Physician Partners (APP)
essential to the future growth and development of our company. To induce you to remain
with APP through our next phase of evolution and to allay any concerns about your job
security, we are pleased to offer you a Retention Bonus, as described in this letter
agreement.

In recognition of your continued service with APP through and until 12/3 1/2023—the
"Retention Period"—we are offering you a Retention Bonus in the amount of $51,991, less
all applicable withholdings and deductions required by law (the "Retention Bonus’).

You will be eligible to receive this Retention Bonus if all of the following eligibility criteria are
satisfied:

1. Your performance has been satisfactory, as determined in APP’s sole discretion, from
the date of this letter agreement through the end of the Retention Period.

2. You are actively employed by APP throughout the entire Retention Period.

3. You have not given notice of your intent to resign from employment on or before the
Retention Bonus pay dates of 4/15/2023 and 10/15/2023.

4. Inthe event you terminate employment between 4/15/2023 and 10/15/2023, you will
be responsible for reimbursing the company for the April 15, 2023, payment within 10
days of the date of your termination. In the event you terminate your employment
after 10/15/2023 and before 12/31/2023, you will be responsible for reimbursing the
company for the October 15, 2023, payment no later than 10 days of the date of your
termination.

5. You have not been given notice by APP of its intent to terminate your employment on
or before the Retention Bonus pay dates. Should you receive notice that APP intends
to terminate your employment for a reason other than your violation of an APP policy
as determined by APP’s sole discretion, you will be eligible to receive the fully
awarded amount of the Retention Bonus on the defined pay dates assuming you
satisfy all other eligible criteria as outlined above.

If you are eligible to receive the Retention Bonus, it will be paid to you in two installments:
25% of the Retention Bonus will be paid on 4/15/2023, and 75% will be paid on 10/15/2023.

Please sign and date this letter of agreement via DocuSign by March 1, 2023. You will
receive the letter from HR via DocuSign by February 17, 2023.
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PHYSICIAR PARTNERS

We look forward to your continued employment with us.

Very truly yours,

Exrandon Quaon

Branden Dyson
EVP Human Resources

Agree to and accepted: Docusigned by:
Signature: Haron bid,
Aaron Kidd

Printed Name:

2/17/2023 | 11:01 AM CST
Date: f11/ |

CC: Human Resources
